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United States District Court
District of Massachusetts

 

United States of America,

v.
Criminal Action No.
Sidoo et al., 19-10080-NMG

Defendants.

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ORDER
GORTON, J.

United States District Court for the District of
Massachusetts General Order 20-4, entered March 16, 2020, states
that all existing pretrial deadlines in criminal cases are
extended 60 days, unless otherwise directed by the presiding
judicial officer.

This judicial officer hereby determines that all
established pre-trial deadlines in the above-captioned case
continue to apply. Any motion for an extension of time will be
considered on an individualized basis and granted only for good

cause shown.

So ordered.

DV athe. Erle,

Nathaniel M. Gorton
United States District Judge
Dated March (7, 2020
